                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

CAITLIN O’CONNOR,                                 )
                                                  )   Case No. 3:20-cv-00628
        Plaintiff,                                )
                                                  )   District Judge Richardson
v.                                                )
                                                  )   Magistrate Judge Frensley
THE LAMPO GROUP, LLC,                             )
                                                  )   Jury Demand
        Defendant.                                )

     DEFENDANT’S UNOPPOSED MOTION TO ENTER CONFIDENTIALITY ORDER

        Defendant, The Lampo Group, LLC, by and through the undersigned counsel and

pursuant to Rule 26 of the Federal Rules of Civil Procedure, moves the Court to enter the

attached Confidentiality Order. In support of this motion, Defendant states as follows:

     1. This is a wrongful termination case.

     2. Plaintiff alleges that Defendant terminated her employment in violation of the Tennessee

        Human Rights Act, Tennessee Disability Act, Tennessee Maternity Leave Act, and

        Family and Medical Leave Act.

     3. Defendant contends that Plaintiff’s employment was terminated for premarital sex, which

        Defendant considers to be inconsistent with its Core Values.

     4. This case will involve discovery of sensitive information, like the circumstances

        surrounding Defendant’s termination of Plaintiff’s employment, the circumstances

        surrounding Defendant’s discipline of similarly situated employees for the same reason,

        and information regarding maternity leave taken by similarly situated employees.

     5. Defendant also recognizes that Plaintiff is seeking damages in this case for emotional

        pain, suffering, professional and personal embarrassment, humiliation, loss of enjoyment




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   of life, and inconvenience, which will require discovery into additional facets of

   Plaintiff’s personal life, like her protected health information.

6. This Confidentiality Order will safeguard this sensitive information, allowing the parties

   to more efficiently complete discovery and resolve this case.

7. The parties have conferred regarding this motion, through counsel, and Plaintiff does not

   oppose it.

                                          Respectfully submitted,


                                          /s/Daniel Crowell
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                                CERTIFICATE OF SERVICE

       I certify that, on January 19, 2021, I caused a copy of the foregoing document to be filed

through the Court’s CM/ECF system, which will automatically notify and send a copy of the

document to:

Heather Moore Collins
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Attorneys for Plaintiff



                                                            /s/Daniel Crowell
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                                                            Attorney for Defendant




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